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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

       Plaintiff,

vs.

TAMIESHA WILLIAMS, et al,

       Defendants.                                        Case No. 05-30133-04-DRH

                                         ORDER

HERNDON, District Judge:

              Pending before the Court is defendant Tamiesha Williams’ Motion to

Modify Conditions of Bond (Doc. 213), so that she may travel out of the District.

Defendant Williams wishes to temporarily leave the District to which she is restricted

so that she may visit her sister and niece in Indian Orchard, Massachusetts (Id.).

Defendant Williams plans to travel via Amtrak train, departing Alton, Illinois, on

August 15th and returning August 27th (Id.). Defendant’s Motion states that both her

Probation Officer and the Government have no objections to this amendment.

              Accordingly, said Motion (Doc. 213) is hereby GRANTED. Defendant

Williams’s bond is hereby amended in order to allow her to travel to visit her sister

and niece in Indian Orchard, Massachusetts, via Amtrak train from Alton, Illinois,

on August 15, 2006, and return to Alton on August 27, 2006. Further, Defendant

Williams must provide both her defense counsel and Probation Officer with her exact

travel itinerary, the location of where she will be staying at all times of her travel, the


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exact names of her sister and niece, a telephone number (land line) where Defendant

Williams can be reached during her visit, and Defendant Williams’s cell phone

number (if she has a cell phone in operation). This information must be provided

before August 15, 2006, in order for Defendant Williams to leave the District

lawfully.

            IT IS SO ORDERED.

            Signed this 28th day of July, 2006.

                                                    /s/        David RHerndon
                                                    United States District Judge




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